                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

MICHAEL DAVID SILLS and MARY    )
SILLS,                          )
                                )
     Plaintiffs,                )
                                )                    Case No.: 3:23-cv-00478
v.                              )
                                )                    Judge William L. Campbell, Jr.
SOUTHERN BAPTIST CONVENTION, et )                    Magistrate Judge Jeffery S. Frensley
al.,                            )
                                )                    JURY TRIAL DEMANDED
     Defendants.                )



               PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

        Pursuant to L.R. 5.03 and L.R. 7.01 and the Agreed Protective Order (Dkt. No. 149),

 Plaintiffs respectfully submit this Motion for Leave to File Under Seal their Response to Defendant

 Executive Committee’s Request for a Discovery Conference (Dkt. No. 217).

        Plaintiffs’ Response is due to be filed today, and there are a series of exhibits that

 EXECUTIVE COMMITTEE designated as Confidential under the Agreed Protective Order. (Dkt.

 No. 149). Specifically, Plaintiffs may attach to their Response and reference therein Documents

 produced by the EXECUTIVE COMMITTEE, including but not limited to those with Bates

 Numbers EC_0011696, EC_0011793, EC_0003072, EC_0007832, EC_0006093, EC_0011362,

 EC_0011396, EC_0011480, EC_0011497, EC_0011671. Plaintiffs will also attach transcripts.

 These materials are marked confidential.

        Placing the materials in the docket would be improper under the agreement to maintain

 confidentiality, and no purpose would be served, at this time, by making public the exhibits or the

 references to them contained within the Response brief.

        Plaintiffs will provide Defendants with a copy of the unsealed document after filing.



  Case 3:23-cv-00478        Document 223        Filed 03/27/25     Page 1 of 4 PageID #: 2877
                                          ARGUMENT

       “[T]rial courts have always been afforded the power to seal their records when interests of

privacy outweigh the public’s right to know.” In re Knoxville News-Sentinel Co., 723 F.2d 470,

474 (6th Cir. 1983). While the right of public access to judicial records is presumed, it is “not

absolute.” United States v. Beckham, 789 F.2d 401, 410 (6th Cir. 1986). One exception to the

“presumption in favor of openness . . . center[s] on the content of the information to be disclosed

to the public.” Rudd Equip. Co. v. John Deere Constr. & Forestry Co., 834 F.3d 589, 593 (6th Cir.

2016). “In determining the appropriateness of sealing court records under this exception, [courts]

consider, among other things, . . . the privacy rights of participants or third parties[.]” Id. When

this exception applies, “the seal itself must be narrowly tailored to serve that reason.” Id. at 594.

(citation and quotation marks omitted).

       Plaintiffs’ Response and potential supporting exhibits contain confidential information,

including emails from several EXECUTIVE COMMITTEE employees, including Laura Erlanson,

Jonathon Howe, and Jon Wilke. This Motion for Leave to Seal seeks to protect from disclosure

materials that EXECUTIVE COMMITTEE designated as worthy of protection. Because of that

designation, this information should be provisionally sealed, for now. Redaction of the documents

would be impractical given the nature of the exhibits, namely, emails internal to EXECUTIVE

COMMITTEE and emails from EXECUTIVE COMMITTEE to news media outlets.




                                                 2

Case 3:23-cv-00478         Document 223         Filed 03/27/25      Page 2 of 4 PageID #: 2878
                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant them leave to

file under seal (a) the Exhibits to Plaintiffs’ Response to Defendant’s Motion (Dkt. No. 217) and,

if it cannot be redacted, (b) the Response brief (if necessary).

Dated: March 27, 2025                          Respectfully submitted,

                                               By: /s/ Katherine B. Riley
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                                                  3

Case 3:23-cv-00478          Document 223        Filed 03/27/25      Page 3 of 4 PageID #: 2879
                               CERTIFICATE OF SERVICE

       I, Katherine B. Riley, hereby certify that on March 27, 2025, I served the above and

foregoing on all counsel of record via the Court’s CM/ECF filing system.

                                                   /s/ Katherine B. Riley
                                                   Katherine B. Riley




                                               4

Case 3:23-cv-00478        Document 223       Filed 03/27/25     Page 4 of 4 PageID #: 2880
